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  1                      UNITED STATES DISTRICT COURT

  2                     CENTRAL DISTRICT OF CALIFORNIA

  3                              WESTERN DIVISION

  4

  5     THE HONORABLE STEPHEN V. WILSON, DISTRICT JUDGE PRESIDING

  6
        USA,                          )
  7                                   )
                 Plaintiff,           )
  8                                   )
          vs.                         )           No. CR 15-611-SVW
  9                                   )
        SEAN DAVID MORTON AND MELISSA )
 10     MORTON,                            )
                                     )
 11             Defendants.          )
      _______________________________)
 12

 13

 14                 REPORTER'S TRANSCRIPT OF PROCEEDINGS

 15                         LOS ANGELES, CALIFORNIA

 16                       MONDAY, SEPTEMBER 18, 2017

 17

 18                                SENTENCINGS

 19

 20

 21

 22   _____________________________________________________________

 23                      DEBORAH K. GACKLE, CSR, RPR
                           United States Courthouse
 24                     350 W. First Street, 4th Floor
                        Los Angeles, California 90012
 25                             (213) 894-8913


         UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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  1   APPEARANCES OF COUNSEL:

  2

  3

  4         For the Plaintiff:

  5

  6               SANDRA R. BROWN
                  ACTING UNITED STATES ATTORNEY
  7               BY: VALERIE MAKAREWICZ
                  BY:   JAMES HUGHES
  8               ASSISTANT UNITED STATES ATTORNEYS
                  1400 United States Courthouse
  9               312 North Spring Street
                  Los Angeles, California 90012
 10

 11

 12         For the Defendant Melissa Morton:

 13

 14               HILARY POTASHNER
                  FEDERAL PUBLIC DEFENDER
 15               BY: ANGEL NAVARRO
                  DEPUTY FEDERAL PUBLIC DEFENDER
 16               321 East Second Street
                  Los Angeles, California 90012
 17

 18

 19

 20         For the Defendant Sean David Morton:

 21

 22               SEAN DAVID MORTON, PRO SE

 23

 24                                 - - - - -

 25


         UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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  1        LOS ANGELES, CALIFORNIA; MONDAY, SEPTEMBER 18, 2017;

  2                                  11:05 A.M.

  3                                  - - - - -

  4

  5                THE CLERK:   Item 4, CV 15-611-SVW, United States of

  6   America versus Sean David Morton.

  7                Counsel, please state your appearance.

  8                MS. MAKAREWICZ:     Good morning, Your Honor.     Assistant

  9   United States attorney Valerie Makarewicz and James Hughes for

 10   the defendant.

 11                DEFENDANT SEAN DAVID MORTON:      Once again, I'm Sean.

 12   I am not the strawman or corporate entity or franchisee known

 13   as the all capital letters SEAN DAVID MORTON; I am a living man

 14   and appearing as a living man.        Also I have documents from the

 15   court if I may submit to the clerk?

 16                THE COURT:   Yes.

 17                DEFENDANT SEAN DAVID MORTON:      There's an ex parte

 18   motion before the court as well.        There's an ex parte motion

 19   for the court to vacate the void proceeding because it's not

 20   constitutional to not inform me of the nature of cause.            No man

 21   shall be deprived of property without due process --

 22                THE REPORTER:     I'm not hearing you, Mr. Morton.

 23   Thank you.

 24                DEFENDANT SEAN DAVID MORTON:      Sorry.

 25                THE REPORTER:     Start again.


         UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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  1               DEFENDANT SEAN DAVID MORTON:       There's an ex parte

  2   motion -- should be an ex parte motion before the court to

  3   vacate this void proceeding because it is unconstitutional to

  4   not inform me of the nature of the cause.          No man shall be

  5   deprived of property without due process, which means I must be

  6   informed of the nature, or you're proceeding in the -- in

  7   excess of jurisdiction.       In all criminal proceedings, the

  8   accused shall be informed the nature of the cause against him.

  9               And I do have a question for the court as to whether

 10   or not this is a court of record?        Sir, is this a court of

 11   record?

 12               THE COURT:    This is the time for sentencing.        Will

 13   the documents that defendant Morton filed be marked as part of

 14   the record.

 15               DEFENDANT SEAN DAVID MORTON:       Again, sir, is this

 16   considered a court of record?

 17               THE COURT:    Yes, it is, sir.

 18               DEFENDANT SEAN DAVID MORTON:       This is a court of

 19   record?

 20               THE COURT:    This is the time for sentencing.

 21               Have you read the presentence report?

 22               DEFENDANT SEAN DAVID MORTON:       I have, I think.

 23               THE COURT:    Okay.   I'll hear from you regarding what

 24   the appropriate sentence should be.         This is your time to

 25   address the court as to all matters that you think relate to


         UNITED STATES DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
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  1   the appropriate sentence in the case.         So you can -- is it

  2   easier for you to speak from the table or from the lectern?

  3               DEFENDANT SEAN DAVID MORTON:       Well, I obviously have

  4   questions for the court so ...

  5               THE COURT:    Okay.

  6               DEFENDANT SEAN DAVID MORTON:       So you're saying for

  7   the record, sir, that this is a court of record?

  8               THE COURT:    Yes, it is, sir.

  9               DEFENDANT SEAN DAVID MORTON:       Okay.   All right.

 10   Well, it's -- once again, I move this court to dismiss this

 11   case against me for being void as the court failed to inform

 12   me, the accused, of the nature of the cause and is moving in

 13   error and bad faith and as a breach of duty to the

 14   Constitution.

 15               I filed a claim.      This time it is my wish to have due

 16   process; so if we could talk about the nature, jurisdiction,

 17   and authority in this court -- in this court of record with

 18   power to -- once again, I point out that I'm appearing as the

 19   living man.     I am unenfranchised; I am not on the all-capital

 20   strawman letter name.      Unless anybody can verify under oath

 21   that I am that all capital name.        So A.P. statutes require the

 22   nature of the proceedings and their authority -- maxim of law

 23   is that no court which has not a record can impose a fine or

 24   commit any person to prison because those powers belong only to

 25   courts of record.


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  1               So if you'll notice also, I have rescinded every

  2   document relative to the nonnegotiable monetary instrument, and

  3   I would like the, at this time, the minutes of the court to

  4   reflect that I rescinded all the documents, and I move that the

  5   minutes of the court be changed to reflect this.           So I move

  6   that the minutes of the court be changed to reflect that I've

  7   rescinded all the documents relevant to the bonds.

  8               So subject matter ceases to exist, and without the

  9   nonnegotiable monetary instruments, all the tax issues are

 10   beyond the statute of limitations actions; and, once again, I

 11   would like to ask the prosecutors does the IRS actually have a

 12   claim against me?      Can I ask that question?

 13               THE COURT:    No.

 14               DEFENDANT SEAN DAVID MORTON:       Okay.   Again, I've not

 15   been informed.     I've withdrawn my plea three times.        So there

 16   is plea on the record.      There was a motion that the plea was

 17   withdrawn back in March.        There was another motion, which I put

 18   to you, which you said I couldn't withdraw the plea because it

 19   was after -- after the jury trial.        I withdrew my plea again

 20   with a motion on June -- the morning of June 18th, along with

 21   the notification to this court that there was an emergency that

 22   it removed to the Supreme Court in the form of an emergency --

 23   emergency injunction, which got waylaid.         It got there on the

 24   Monday morning before this court was in session.           Did not reach

 25   of the judge of -- the desk of Justice Kennedy, but it was


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  1   actually submitted three more times --

  2               THE REPORTER:     Pardon me?

  3               MR. MORTON:     The Supreme Court of the United States,

  4   Justice Kennedy of the Supreme Court of the United States.

  5               So, again, I've not been informed of the nature,

  6   which is a breach of duty, it's unconstitutional and void; and

  7   the sovereign people of California, of which I am, do not yield

  8   our sovereignty to the agencies which serve us.          I do not agree

  9   to be imprisoned by a hearing officer.         So I demand the sealed

 10   warrant be reviewed for Fourth Amendment requirements.            For

 11   example, in this case any evidence or probable cause was not

 12   presented to the court.       The warrant was actually not on the

 13   premises at the time.       What gives the IRS the right to come

 14   into the sovereign state of California and arrest people,

 15   especially on boats belonging to the Bahamas.

 16               So under oath -- of a crime, once again signed by --

 17   was the actual warrant signed by a judge, which it wasn't.

 18   Under oath of a crime, which is wasn't, and is the IRS

 19   authorized to come into California and arrest us.           Once again,

 20   I would like also the public credentials of all the parties

 21   here, these attorneys, if they're registered under the

 22   California bar.     How did they practice within District of

 23   Columbia?

 24               And I would like my objections put on the record, and

 25   I also -- I mean, all of my notices, which were all unrebutted,


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  1   were all ignored.      So did the court not receive notice -- I'm

  2   sorry.

  3               Once again, there was notice on the record that I

  4   rescinded every act this began with, and, once again, I require

  5   you to notice that the subject matter ceased to exist when I

  6   rescinded the contracts that began all this.          I gave notice to

  7   rescind my plea in March, as I said, and then you denied a

  8   motion to rescind the plea in April saying the trial was

  9   already over, ignoring so many material facts, labeled notice

 10   is a breach of duty, and -- the duty to be impartial, and it

 11   seems to be clear bias on the part of the court.

 12               Not going by rules for the accused representing

 13   himself is also biased.       Rule 17, once again, you needed to go

 14   by all of the rules of my domicile, which is the sovereign

 15   state of California, which is under common law, quote, "The

 16   basis of all decisions in California are by the rules of

 17   English common law and all California courts are courts of

 18   record."    Again, I do not have a plea on the record, which was

 19   made under duress, and I do not understand the nature of this

 20   enough to plead.     I have no real understanding of what it is we

 21   supposedly did wrong, and I don't understand the administrative

 22   nature of what's happening.

 23               So I move to dismiss or void; no subject matter

 24   jurisdiction; failure to state a claim upon which relief can be

 25   granted; there's no verified complaint or declaration of injury


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  1   and testimony by the plaintiff or any first-hand witness.

  2               The ex parte motion to vacate void proceedings is on

  3   file with the court.      Damages are on the desk of David Pinches,

  4   an attorney for Makarewicz and Hughes.

  5               So, once again, has everybody got a copy of what I

  6   just put in?     I need due process to be heard because there is a

  7   substantial burden upon my constitutional properly -- proper

  8   entitlement interest, and I require the use of this venue as a

  9   court of record in which to move my claim through because I am

 10   aggrieved and have had no due process and believe there is a

 11   false claim against me based on a forged instrument; and the

 12   forged instrument is the actual indictment which was not

 13   signed, again, by -- it's an imaginary being of the United

 14   States so -- and the IRS.

 15               So does anyone wish to get on the stand and contest

 16   my claim under oath at this time?

 17               Okay.

 18               So I'm aggrieved and have had no due process.          I

 19   believe there is a false claim against me based on a forged

 20   instrument.     Once again, if not, this case must be dismissed

 21   immediately and discharged.       If there is a dispute to my claim,

 22   we need to discuss it right here and right now without delay

 23   because my property of rights is being withheld from me by you

 24   persons acting unlawfully in breach of duty.

 25               So does anyone wish to dispute this?        If not, I would


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  1    like to go home, and who wants to keep me here against my will

  2    under the guise of doing someone wrong and me doing a crime

  3    when we all no there is not an injured, and that means no crime

  4    by superior law of the land.       And you're all supposed to be

  5    bound by the supremacy clause, and I'm also claiming that

  6    you're exceeding jurisdiction to imprison me with no authority

  7    to do so because this is an inferior court.         My court is a

  8    court of record.     You're injuring me, which means I have

  9    standing to sue.     None of you have standing under the doctrine

 10    of standing, which every court needs to lawfully proceed.            By

 11    "standing" I mean distinctive and palpable injury as opposed to

 12    hypothetical and conjectured injury with the causal connection

 13    between the claimed injury and challenged conduct, and the

 14    court must be able to address the injury.

 15                The court of record proceeds only by common law.          A

 16    federal crime victim -- here's the actual definition -- is,

 17    quote, "A person directly or proximally harmed as a result of

 18    the commission of a federal offense or an offense within the

 19    District of Columbia."

 20                Well, we're not in the District of Columbia; no one

 21    was actually harmed, and that comes directly from 18 U.S.C.

 22    Section 371(e).     So void by contempt and -- anyway, it's

 23    contempt to sue -- it is contempt under this definition to sue

 24    in a fictitious party's name.       Black's Law, 2nd Edition.

 25    That's exactly what the parties did here.


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  1                Once again, let me point out just for all of this --

  2    I wrote a -- as far as I know -- a tax return that was sent by

  3    the IRS as part of a computer error, they claim, that was an

  4    erroneous return is not a crime, and I wrote a Freedom of

  5    Information Letter Act to the Internal Revenue Service, and

  6    because the trial was sped up from July back to April, I got

  7    the letter actually after the trial occurred.          So I certainly

  8    want it to be considered that the IRS sent me a letter that

  9    said no one at the Internal Revenue Service has a claim against

 10    you, number one.     Number two, your tax return was generated as

 11    a computer error on our part, and Maureen Green, I think, did

 12    the audit, and she was responsible for the error.

 13                So an erroneous tax return generated by an IRS

 14    computer error is not a crime.       The void coupon sent to IRS

 15    void -- coupon sent to IRS to discharge an imaginary debt that

 16    the IRS created as an imaginary lien, when there is no gold or

 17    silver under Article I, Section 10 of the U.S. Constitution and

 18    Article I, Section 10 of the California Constitution to

 19    discharge public exactions is also not a crime.          Nonnegotiable

 20    instruments sent with a a self-addressed, stamped envelope to

 21    return if was there any deficiency of the instrument sent with

 22    a letter of advice saying, Can you please give us a legal

 23    opinion on what this is, sent with a memorandum of

 24    understanding, and then four subsequent actual requests for

 25    people to return whatever instruments that they have, again,


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  1    does not constitute fraud; it constitutes full disclosure and

  2    does not constitute an actual crime.

  3                So the court refused to inform me of the nature of

  4    the offense, civil or criminal.       I asked this court, as well,

  5    was this a civil or criminal proceedings.         I was told I was

  6    being facetious.     So there is no persona jurisdiction, once

  7    again, because I'm one of the people of California, and I've

  8    withdrawn my plea and removed the case -- and done everything I

  9    could do to remove case to the Supreme court for an application

 10    for emergency injunction, and Justice Thurgood Marshall said

 11    it's -- one can can ignore void orders of -- or any order under

 12    the theory of law that does not meet Constitutional duty, it is

 13    void and can be ignored, right -- right to exercise

 14    constitutionally protected, right to ignore a void proceeding.

 15                And, once again, I move that the Sixth Amendment

 16    guarantee to know that I am -- that the -- to know the informed

 17    nature of this offense has not been met, and what evidence says

 18    I was informed of the nature?       I was not informed.     My Sixth

 19    Amendment rights have been denied; so all this is void.           I

 20    would like to go home now, and I move to dismiss all this as

 21    void for breach of constitutional guarantees.

 22                By the way, 18 U.S.C. 377 says, "A federal crime

 23    victim is a person directly or proximally harmed as a result of

 24    the commission of a federal offense or an offense within the

 25    District of Columbia."      Again, we're not in the District of


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  1    Columbia.

  2                As of now, under 5 U.S.C. 702 -- since the court has

  3    not responded to anything I've really said -- I motion to

  4    remove this case against me for judicial review to a nonbiased

  5    court in a new hearing, and I wish and demand no further

  6    intercourse with this court or its officers, and I demand no

  7    further intercourse be forced upon me.        So, once again, I have

  8    a motion that this case that -- because everything I've said

  9    has been ignored, I move that this court be found in contempt

 10    and this case be moved to judicial review to another court that

 11    I believe to be unbiased and also an expedited hearing for a

 12    habeas corpus, which is proof of an injured party.

 13                So motions I have before the Court is -- once again,

 14    I demand judicial review of a court that I feel is unbiased

 15    and an expedited hearing for habeas corpus or proof of an

 16    actual individual party being injured.

 17                Can I have a response to any of that?

 18                THE COURT:    Well, to the extent what you just argued

 19    are motions, they're all denied.

 20                DEFENDANT SEAN DAVID MORTON:      Okay.    So can you deny

 21    under 5 U.S.C. 702, motion to remove case against me for

 22    judicial review?     You can deny that as a hearing officer of an

 23    administrative court?

 24                Okay.

 25                All right.    Let me say this:    I'm just -- as long as


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  1    all that is on the record -- when I was ten years old, I

  2    actually had the opportunity to meet Ronald Reagan at the

  3    Ambassador Hotel and got his autograph and thought he was one

  4    of the -- one of the -- greatest man I think I'd ever met, or

  5    one of the greatest men that ever lived, and I remember getting

  6    his autograph, and he said, "What do you want to be when you

  7    grown up, young man?"

  8                And I said, "I'd like to be president of the United

  9    States, sir."

 10                And he tossled my hair -- and I'll never forget what

 11    he said -- he said, "Well, well, I if get there before you,

 12    I'll give a few pointers."

 13                Years later in 1980 I had the opportunity to campaign

 14    for -- for President Reagan actually in New Mexico where we

 15    traveled amongst the schools, and we debated the Jimmy Carter

 16    people about what we felt was the new hope for America, and the

 17    motto of the Reagan administration at that time was "Less

 18    government, more personal responsibility, and with God's help a

 19    better world."     And we actually won for the first time; the

 20    republicans actually won New Mexico in favor of Reagan, and so

 21    my goal and my quest for all of my life, along with my great,

 22    great, great grandfather being John Morton, who actually signed

 23    the Declaration of Independence and was one of the authors of

 24    the Articles of Confederation, and then going down through

 25    time, I've had nothing but respect and awe for the


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  1    constitutional principles of the United States.

  2                In regards to this matter, again, I point out that

  3    there is -- that there's been a fictitious instrument that's

  4    been entered in the name of a fictitious entities, which I

  5    think directly violates my Sixth Amendment right to face an

  6    accuser or somebody that I supposedly harmed or damaged.           In

  7    the case of the Internal Revenue Service, again, I would like

  8    the opportunity to present the Freedom of Information Act

  9    letter that I got from the IRS that stated that your tax

 10    return, back in 2009, was a computer error on their fault, was

 11    an erroneous return, which, again, is not criminal, was an

 12    erroneous return based on a computer error by them.

 13                When it came to the nonnegotiable monetary

 14    instruments, we're beset with a real problem in the United

 15    States because there is no gold or silver.         You yourself

 16    understood that we went off the Gold Standard in 1933 with the

 17    bankruptcy in the United States, and we talked about that

 18    during trial.    And how do people setoff, settle, and discharge

 19    debt or any public exaction without either gold or silver under

 20    Article I, Section 10 of the U.S. Constitution, Article I,

 21    Section 10 of the California State Constitution as well.           And

 22    in the course of that, we became familiar with the

 23    nonnegotiable monetary instruments, which only set to, we

 24    felt -- by the way, did not profit us other than we have folks

 25    donate funds to us for paperwork.        But, again, when you send a


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  1    document that has full disclosure, and you beg for them to give

  2    that document back if there's anything wrong with it and now

  3    facing what we're facing with, again, our -- literally just

  4    trying to help people who are being crushed by mortgages or

  5    being crushed by credit card debt, who are being crushed by all

  6    these things, I saw this as a viable alternative to safety.            I

  7    know over the course of three years or so, the sum of -- I

  8    think 16 monetary instruments -- I think they were all we

  9    did -- I think was 16 monetary instruments for, I think, about

 10    13 people or so.     Over the course of the three years, we got so

 11    frustrated because we obeyed all of the -- first off, as I

 12    said, when we submitted them, there was a -- the letter of

 13    advice; there was a letter that said, "Please send this back";

 14    there was a letter that said, "Please have your attorneys

 15    address this.    If there's anything wrong this, please send it

 16    back."

 17                The United States Treasury website also said that if

 18    there is any bond that came into dispute, that bond was to be

 19    dishonored and returned within 30 days; and that comes right

 20    off the Secret Service website.       I don't understand what the

 21    IRS is doing actually enforcing or investigating any of this.

 22    That's number one.

 23                Number two, when it came to the return, again, we

 24    submitted multiple notices.       Under the California laws of

 25    novation and accord and the California laws of accord and


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  1    satisfaction, and all of the laws of the Uniform Commercial

  2    Code, as well.     As to the first presentment, which said,

  3    "Please send this back if there's anything wrong with it."

  4    Then there was a notice of fault, okay?         You've not returned

  5    anything.    What do we do?    Then there was a notice of default

  6    which is all right, now 60 days have gone, not gotten anything.

  7    And finally it was a notice of default and dishonor, and the

  8    default and dishonor was, all right, well, under accord and

  9    satisfaction, under novation and accord, under the Uniform

 10    Commercial Code laws, under the laws of the State of

 11    California, federal laws as we knew it, and the banks have

 12    never returned any of these bonds.        As a matter of fact, we

 13    went to -- we went to court twice to enforce the bonds in

 14    federal court and once in state court, and in each instance,

 15    the judges said, Well, there's nothing criminal about what you

 16    did.   There's nothing criminal here.       The bonds might be -- and

 17    this was, again, one comment where the judge said, Well, this

 18    looks like a useless piece of paper, and we said, Well, it is

 19    to you and I, but I use the analogy again of the Joe DiMaggio

 20    rookie-year baseball card that to anybody else -- my mother,

 21    she'd throw that card in the trash but to anybody else who knew

 22    the value that, it would be worth millions of dollars.           So it

 23    had to be worth what the value of what paperwork actually was.

 24                In every single case, not even the mighty Department

 25    of Justice or Makarewicz or Hughes here managed to actually


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  1    come up with an original bond.       I think one that was sent to

  2    Contra Costa County because not even they could get the bonds

  3    back from the banks, which leaves us the with possibility that

  4    the banks would actually monetize the bonds, and if they

  5    couldn't produce the actual evidence in court at trial, sir,

  6    the how do we even know that it was submitted to -- to -- they

  7    claim it was submitted to the Department of Treasury; they

  8    claim it had something to do with conspiracy to defraud.

  9    Again, they couldn't even present the original documents.              I

 10    sat here and objected over and over and over again when they

 11    just put copies of things they found in what I consider to be

 12    illegal search and seizure of our home.

 13                So doing everything that I thought was

 14    constitutionally right, I -- and, again, I do not understand --

 15    in any way, shape or form, I don't understand the charges.                 I

 16    withdrew the plea because the letter from the IRS says, again,

 17    that you did nothing wrong; it was an erroneous refund.           It

 18    appears our only crime was -- my only crime was when I got a

 19    return, we spent it investing in a film production company, and

 20    I guess the IRS was mad that they couldn't get the money back,

 21    but even that, the statute of limitations on crimes for that is

 22    three years and five years, and we didn't even hear from these

 23    guys until almost seven years later.

 24                So I don't understand the nature the crime; I

 25    withdrew my plea because I don't know what I'm pleading to, and


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  1    I don't understand -- I don't understand.         I don't understand

  2    the nature of the offense; I don't understand what I did; I

  3    have a Sixth Amendment right to face my accuser.          I said over

  4    and over again, Put the United States on the stand; put the IRS

  5    on the stand; put anybody that we've actually directly harmed.

  6    And even the one witness they came up with claimed that she was

  7    contacting us under an alias; so she never even had direct

  8    contact with us, and for all we know, she was -- she was

  9    possibly lying, but maybe it was her husband or somebody else

 10    that we were -- that we were actually corresponding with

 11    because she was doing it under an assumed name.

 12                So in every single one of these cases -- and, once

 13    again, when we found the banks were just ignoring everything,

 14    we told people, Look, this stuff is not working, and we don't

 15    know what to do.     So I don't understand how this court in an

 16    administrative hearing -- as I said, you were saying it's a

 17    court of record, and you're putting it on the record because

 18    common law courts or courts of record, and you claim this is a

 19    federal court record.      And, again, as far as persona

 20    jurisdiction goes, again, I'm a living man; I'm not a

 21    corporation; I'm not -- I'm not a franchise.         I do not come

 22    under the 14th Amendment, and my understanding of that -- and,

 23    look, I've studied this over and over and over again because,

 24    again, my forefather was one of the very authors of a lot of

 25    the documents, the Articles of Confederation; but I've done


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  1    everything I could do to remove myself of the jurisdiction, of

  2    being a, quote, United States citizen of -- the Wong Van Ark

  3    Supreme Court cases, the slaughterhouse cases around the turn

  4    of the century, were the key cases when you had Chinese

  5    immigrants who came to this country, and they came to work at

  6    the railroad, and they had thousands of children that were born

  7    here on U.S. soil but did not have citizenship, and so

  8    slaughterhouse cases -- and the Wong Van Ark case was the

  9    Supreme Court at the turn of the century saying, Okay, you have

 10    a choice to either be a U.S. citizen enfranchised by the United

 11    States under the 14th Amendment, or you have a chance to be a

 12    state citizen, which is what I've chose to be, and state

 13    citizens, which means -- which means that this court is federal

 14    territory; this court is the District of Columbia; this court

 15    is -- actually, the state of California is foreign nondomestic

 16    to a federal court, and, therefore, once again, I challenge the

 17    persona jurisdiction of this.       I do not understand really what

 18    is going on here as far as -- as far as the charges -- charges

 19    of all this go, and it's been a complete mystery to me through

 20    most of this, and, of course, you're also denying my motion to

 21    have what I consider an unbiased court do a judicial review.

 22                And, again, my ex parte motion, vacate the void

 23    proceedings is on file with the court.        Did you receive that?

 24                THE COURT:    Yes.

 25                DEFENDANT SEAN DAVID MORTON:      And you just denied it?


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  1                THE COURT:    Yes.

  2                DEFENDANT SEAN DAVID MORTON:       Okay.

  3                All right.    I've -- all I can say is I've done

  4    everything to lead an exemplary life.         You know, I have no

  5    criminal record.     I have no -- never done anything wrong, you

  6    know, as far as I know, other than traffic offenses.           I've

  7    never broken the law, and I didn't think I was breaking the law

  8    here, which means, again, I have -- I also have a notice of

  9    nonculpability under the direct guidelines of the Ninth Circuit

 10    court that, you know, I had no culpability when I was doing

 11    this.   Everything -- I thought I checked every law; I checked

 12    everything I thought was legal in regards to the -- in regards

 13    to the 2008 tax return.      It was done with -- it was done with a

 14    CPA; it was submitted under all the laws, rules, as we

 15    understood them, 1099A, 1099 OID, all the laws and rules of the

 16    Internal Revenue Service.         In fact, the original return was, I

 17    think, $880,000 of which we actually put an exemption into the

 18    government, and what they don't point out here is the

 19    government kept almost 400 and -- 48 percent of the return.

 20    The government -- the IRS kept 400 and -- almost $470,000 of

 21    the return paid to them.         Later IRS Agent Ted Hanson, also

 22    known as Ted Lepkojus, confiscated $57,000 from a film

 23    production company that had nothing to do with me called The

 24    Real Magic Productions.      Also stole $7,000 from my wife's bank

 25    account for which the IRS later apologized and then said, Well,


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  1    we're not going to pay you back because now you have a

  2    frivolous filing fine against you for $10,000.

  3                We've even tried to bankrupt out of the onerous

  4    pressure of the Internal Revenue Service and, you know, failed;

  5    they fought us tooth and nail on that, and we did not even get

  6    a bankruptcy.    So this whole thing has been us like a rag doll,

  7    if you will, in the tenacious teeth of the supposed federal

  8    agencies.

  9                And, again, I'm not sure you can get anybody to get

 10    up on the stand and actually testify that the Internal Revenue

 11    Service is really an agency of the federal government.           You

 12    actually look at the Supreme Court decision of StealCove versus

 13    Diversified Metal.     That Supreme Court decision said very

 14    specifically that the Internal Revenue Service is a private

 15    organization.

 16                With that said, Your Honor, I -- again, I moved --

 17    put a number of motions into the court.         Again, I would like an

 18    expedited motion of habeas corpus to show that there's, you

 19    know, someone that's been harmed here, you know, by what we've

 20    done; and, B, you know, to face the kind of consequences that

 21    we're facing and face for this -- for paper that we begged

 22    people to send back that we -- that we -- that never harmed or

 23    damaged anybody, with coupons which -- and I have to bring this

 24    up again -- in our original March 2016 conversation -- which,

 25    by the way, the transcripts of that seem to have simply


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  1    disappeared from the public record -- you, Judge Wilson, made

  2    some interesting statements.       When Valerie Makarewicz got up

  3    and talked about the coupon for setoff, settlement, and

  4    discharge, you said, It sounds like a prank, and, again, this

  5    was in the -- it disappeared from the court transcripts; we

  6    can't find it anywhere.      And then when she said, Well, he's

  7    written us copious amounts of letters, you said, Well, he has

  8    the right to write the letters.       Did you respond to any of

  9    them?   And Ms. -- sorry -- Mrs. Cambian was -- well, she was

 10    understandably silent on the issue because in every part of the

 11    way, we responded to every single thing -- I'm sorry -- I can't

 12    say "we."    I'm not going to speak for my wife; she has a

 13    defense attorney here -- but in every possible discourse, I

 14    responded, and every time they sent me a letter I responded and

 15    said, Okay, fine.     Let's deal with this.      Let's settle it.      In

 16    every possible way I responded for what happened, and when you

 17    get a tax return, and you spend the tax return, and six months

 18    later a government agency says, No, our mistake.          We want it

 19    all back, how is that on me as a crime?

 20                So that's where my -- that's where my not

 21    understanding this comes in.       That's where my -- you know,

 22    again, I do not wish intercourse with this court or having

 23    intercourse forced upon me.       In the same time, since you're --

 24    you know, you've ignored all my motions, and, again, can I at

 25    least get the minutes changed?       As I said, I put in rescissions


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  1    of all the various contracts for this.

  2                So -- all I'm -- all I basically can do is try to

  3    tell you that all I've -- I've never, ever in my life tried to

  4    hurt anybody, I've never, ever in my life.         All I've tried to

  5    do is be a benefit to people.       Has that worked out?      Maybe not,

  6    but I've always tried to do good.        I -- you know, my spiritual

  7    background from my Christian studies from traveling the Middle

  8    East, from living in a monastery in Nepal, from actually living

  9    in a compound with the Dalai Lama, there's been nothing in my

 10    life that shows that I've tried to hurt or harm people.           I'm a

 11    public speaker, and I try to lift people.         I've worked with

 12    Better L.A., Pete Carroll, counseling kids -- high-risk kids in

 13    the Crips and Bloods and Hoover family, and we dropped the

 14    murder rate to 66 a year to zero in the Adams district by USC.

 15    And if any part of this could be -- if any part of this comes

 16    down as community service of some kind, then, you know, my --

 17    using my Ph.D in therapeutic counseling to help heroin

 18    addicts -- you know, even in the 30 days that I spent custody

 19    in San Bernardino, all I've been doing there is counseling

 20    young men who are coming off heroin; people who are -- domestic

 21    violence; people who are there for DUIs; and we've started a

 22    prayer group there where, you know, I've started counseling to

 23    them to try to get them back on their feet, to try to show them

 24    the mistakes and errors of their ways.

 25                So I've never been to prison before.        You know, I've


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  1    never rolled up with, you know, groups of violent criminals,

  2    drug dealers and heroin addicts and all that, yet, you know,

  3    now we're facing -- I'm facing an implacable system that,

  4    again, has been implacable all the way through; that has

  5    completely denied reason; that it seems to have completely

  6    ignored the Constitution; that it's denied -- well, my Fourth

  7    Amendment rights with what I feel is an illegal -- illegal

  8    warrant, an illegal arrest; my Fifth Amendment rights to

  9    actually speak and present my defense in this court when I was

 10    told to basically shut up and sit down or I would face the most

 11    dire consequences, which obviously I'm facing now; the Sixth

 12    Amendment to constantly over and over again face my accuser and

 13    face who it is we've actually harmed.        So every single one of

 14    those rights are being -- are being violated as we sit here.

 15                And now my poor wife is being dragged through this.

 16    She had nothing to do with any of this stuff.          She was a -- she

 17    was a dutiful wife.     She -- I don't know if I can speak on her

 18    behalf -- but she is a dutiful wife.        She's from Mormon stock.

 19    She -- you know, all she ever did was what I ever asked her to

 20    do, which I felt was completely within her realm as a public

 21    notary.   She did everything lawfully and legally by simply

 22    notarizing documents and mailing things out, and I'm sure

 23    they'll bring up the fact that she never got a return from the

 24    IRS; the IRS actually voided out everything that they said that

 25    she owed because she actually fixed it, and a lot of this was


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  1    because of Steven Brody.        You know, Steven Brody was stopping

  2    me from presenting evidence; Steven Brody was stopping me from

  3    bringing in witnesses on our behalf, coming up with this

  4    bizarre defense, that is, like, Well, you just have to say that

  5    other people told you to do it.        Yeah, we took advice -- we

  6    took advice of other people when this came through, but

  7    ineffective counsel I know doesn't probably apply to me acting

  8    as my own attorney, but at the same time, you know, I would

  9    also move for a new trial based on that, you know, as well

 10    because it's a -- I think -- he was a lawyer; he went to

 11    Stanford.     You know, he kept telling me, You can't do this; you

 12    can't do that, can't do the other thing, and it completely

 13    stopped me from presenting what my defense would have been at

 14    that time.

 15                 So -- all right.     In begging for my life,

 16    Judge Wilson, as I said I -- my admiration for Ronald Reagan

 17    throughout the years was all about his belief in limited

 18    government, personal responsibility, with God's help a better

 19    world, which is the motto for his campaign, and it changed me

 20    as a person to -- once again, to work for that, and all I've

 21    ever done is try to teach the Constitution and all I've ever

 22    done is try to teach people about their own constitutional

 23    rights and the difference between the sovereign states and the

 24    people of the sovereign states, which I am one.          Again, I'm a

 25    living man.     I'm not a corporate construct; I'm not a 14th


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  1    Amendment franchisee.      I filed every piece of paperwork that I

  2    could do to not be that.

  3                And, again, this court is -- well, foreign --

  4    California is foreign not domestic, federal jurisdiction of

  5    this court; therefor, as a living man, as one of the people of

  6    California, our constitutional says that the people of

  7    California shall be sovereign forever and that all men have

  8    inalienable rights, not persons, and I just read to you the UCC

  9    Code that said that somebody had to be harmed or damaged here

 10    so ...

 11                 I was told I'd be able to ask questions and, you

 12    know, and obviously I'm not able to; you're not allowing me to

 13    ask questions of the prosecution or of anybody else.           I was

 14    told I was allowed to make motions, and you're just denying

 15    them all out of hand.      So -- and I'm sure you have some -- I

 16    hope you don't have some dire fate or consequences in store for

 17    me considering taking in the scope and breadth and width of my

 18    life that has to do with speaking to the public, with telling

 19    the truth, with trying to be an exemplary person.          I'm trying

 20    to help those -- I'm trying to help those in need, and one of

 21    the prayers that we started in the tank that I'm -- I'm in the

 22    tank for the last 28 or 30 days -- I'm in C Tank, which we call

 23    "Christian Tank," and we came up with a thing that says, "If

 24    you walk with God, he'll walk with you; and if you talk with

 25    God, he'll talk with you; if you love God, he'll see you


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  1    through; and that prayers go and blessings and miracles come

  2    down.

  3                So, again, Your Honor, I'm asking for a blessing and

  4    a miracle today.     I'm asking for those not just for myself but

  5    for my wife, as well.      You know, we got involved in something

  6    which, again, we thought was absolutely true.          I still maintain

  7    that we had no culpability; we had no criminal state of mind in

  8    any of this, and everything that we were doing we thought was

  9    absolutely by the book, by the law, novations in the court,

 10    Uniform Commercial Code, the U.S. Constitution, the IRS code.

 11    We worked under CPAs that presented us with this -- and by the

 12    way, we were -- we were -- I was just one of over 400 -- I

 13    think the prosecution was at 429 different people that filed

 14    these the exact same process with Brandon Adams and his father,

 15    Alexander Adams.     And may I point out, by the way, the two CPAs

 16    in L.A. County of Alexander Adams and Jacqueline Coehlo, who

 17    had gotten -- who had actually filed the 1099 OID process for

 18    her clients, the IRS actually went after them and simply

 19    requested an injunction that they stop filing their paperwork

 20    to actually help people get returns in both of those cases.

 21                So, once again, I point out that I have a letter from

 22    the Internal Revenue Service that says no one at the IRS has a

 23    claim against me.     It's a Freedom of Information Act letter, a

 24    letter that comes directly from their office, and the return

 25    for 2008, and delivered in 2009, was a computer error.           It was


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  1    their fault.    And, once again, an erroneous -- point out again,

  2    an erroneous refund is not a criminal, number one.          Number two,

  3    coupons presented -- coupon, not checks, mind you, as the

  4    prosecution kept saying -- but coupons for setoff, settlement,

  5    and discharge were perfectly -- perfectly appropriate to set

  6    off public exactions when there is no gold and silver under

  7    Article 1, Section 10, no public exaction can be paid, under

  8    Article 1, Section 10, of the U.S. and California Constitution

  9    without gold or silver being in process.

 10                And in regards to the nonnegotiable monetary

 11    instruments, we weren't even going to profit from them.           I

 12    mean, if they worked and if they paid off a mortgage or a

 13    credit card debt or whatever, it would have gone for the people

 14    that were submitting the paperwork themselves, not us.           You'll

 15    notice they were not indicted as co-conspirators in any of

 16    this, but, you know, the point was is that it wasn't even --

 17    you know, we accepted a fairly -- fairly small amount to do

 18    paperwork; it was very copious to present documents we begged

 19    to get back in which we said in every single case, If the banks

 20    or anybody that we sent these documents to simply send them

 21    back a self-addressed stamped envelope that was provided for

 22    them to mail it back to us that we -- we would give back any

 23    donation that was provided to us, and that never happened.            Not

 24    a single bank, not a single credit card agency actually

 25    returned the instruments and not even the DOJ could find them,


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  1    which leaves the mystery:      What happened to them?      Where did

  2    they go, and were they actually monetized by the banks at that

  3    time?

  4                 So with that said, prayers go up, blessings and

  5    miracles go down.     I hope you take into account the totality of

  6    my life in fighting for freedom and for the Constitution; and

  7    I'm just wondering what Ronald Reagan would have told me when

  8    he got to be president, what advice he would have given me from

  9    there.     Probably -- I don't know what he would say.

 10                 I'm broken down in this, the horrors of -- my wife is

 11    here with me, and she deserves none of this, and she's done

 12    nothing but love me and obey me and, you know, be there -- a

 13    perfect life and a perfect companion, and no one could ask for

 14    anybody better to have by their side and -- okay.

 15                 Once again, you know, I am a living man; I am not a

 16    person; I am not the all-capital letter name in the indictment,

 17    and I would very much -- I do not wish intercourse with this

 18    court or any of its officers, and I'd very much like to go home

 19    now.     Thank you.

 20                 THE COURT:   Thank you, Mr. Morton.

 21                 I have some questions for the government.        Who speaks

 22    for the government?

 23                 MS. MAKAREWICZ:   I do, Your Honor.

 24                 THE COURT:   First, with regard to the guideline

 25    calculation in your memorandum after the presentence report was


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  1    filed, you mentioned that you omitted to include in the

  2    information you gave to the probation department the relevant

  3    information about two of the counts involving 28 United States

  4    Code, Section 514, correct?

  5                MS. MAKAREWICZ:    No.    It had to do with the

  6    omitted -- I'm sorry.      You're correct, Your Honor.      It is with

  7    respect to the 514, yes.

  8                THE COURT:    And so the modification or amendment is

  9    that the base level offense that the presentence report

 10    determined was a level six because it -- the presentence report

 11    didn't have the information about the 514 count, correct?            And

 12    if it had that information, the base offense level should have

 13    been a seven; is that the argument?

 14                MS. MAKAREWICZ:    Yes, Your Honor.

 15                THE COURT:    And then the loss amount, regardless of

 16    whether the base offense level was a six or a seven, it is the

 17    same in both calculations, correct?

 18                MS. MAKAREWICZ:    Yes.

 19                THE COURT:    And that was 18, plus 18?

 20                MS. MAKAREWICZ:    Yes.

 21                THE COURT:    And then in terms of the loss amount, you

 22    mentioned that with regard to the phase of the scheme that

 23    involved the use of the bonds for commercial purposes, not with

 24    the IRS, that the intended loss should have been the debt that

 25    the victims had, not the face amount of the bonds, correct?


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  1                MS. MAKAREWICZ:    Yes.

  2                THE COURT:    Irrespective of that position, would the

  3    loss calculation change either way?        In other words, would it

  4    be different in terms of the plus 18 regarding whether the

  5    intended loss was the face amount of the bond or the overall

  6    debt that the debtor had?

  7                MS. MAKAREWICZ:    I think it would be much more, Your

  8    Honor, that --

  9                THE COURT:    But the 18 does not include the intended

 10    loss of the debt -- the overall debt of the debtor.

 11                MS. MAKAREWICZ:    Yes.

 12                THE COURT:    It does not?

 13                MS. MAKAREWICZ:    I thought it did, Your Honor.

 14                THE COURT:    Well, then the question is this:       In that

 15    phase of the case -- these are the two matters I need to be

 16    addressed -- there is the face amount of the bonds; then there

 17    is the overall debt that the victim debtor had.

 18                MS. MAKAREWICZ:    Yes.

 19                THE COURT:    Your argument is that the overall debt

 20    that the debtor had should be the intended loss rather than the

 21    face amount of the bond?

 22                MS. MAKAREWICZ:    Yes.

 23                THE COURT:    Which of those two was used in the

 24    calculation?

 25                MS. MAKAREWICZ:    The actual amount of debt, not the


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  1    face value.

  2                THE COURT:    And if the face value of the bond had

  3    been used, would the the amount of the loss, that is, the plus

  4    18, be effective?

  5                MS. MAKAREWICZ:    Yes.

  6                THE COURT:    And now in the tax scheme, that is, the

  7    OID scheme, the loss calculation is also a plus 18, correct?

  8                MS. MAKAREWICZ:    Yes.

  9                THE COURT:    And so how is it that on the nontax

 10    scheme -- the "commercial scheme" I'll refer to it -- that loss

 11    is 18 also, isn't it?

 12                MS. MAKAREWICZ:    Yes.

 13                THE COURT:    So it really doesn't matter whether the

 14    face amount of the bonds was used as the intended losses or the

 15    overall debt of the debtor in terms of the calculation to get a

 16    plus 18 for the loss amount, correct?

 17                MS. MAKAREWICZ:    Yes.

 18                THE COURT:    I am correct?

 19                MS. MAKAREWICZ:    Yes, Your Honor.

 20                THE COURT:    Well, I am not including as a loss

 21    calculation the overall debt of the debtor.         I think the fairer

 22    calculation is the face amount of the bond.

 23                DEFENDANT SEAN DAVID MORTON:      May I object, Your

 24    Honor, because, again, we're talking about imaginary things

 25    here.   We're talking about supposedly that the bonds were --


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  1                THE COURT:    I'll give you a chance.      Make a note of

  2    what you object to, Mr. Morton, and I'll give you a full

  3    opportunity to respond.

  4                Now, you start with a base offense level of seven and

  5    then you add to that the loss calculation, 18; so that gets you

  6    to 25, correct?

  7                MS. MAKAREWICZ:    Yes.

  8                THE COURT:    And then because there were two parallel

  9    schemes, and under the guidelines they weren't utilized

 10    consecutively, that the greater was used, but the guidelines

 11    allow a plus two for not double counting the schemes, correct?

 12                MS. MAKAREWICZ:    Yes, Your Honor.

 13                THE COURT:    So that gets you to 27, correct?

 14                MS. MAKAREWICZ:    Yes.

 15                THE COURT:    And you have an enhancement for

 16    obstruction.

 17                MS. MAKAREWICZ:    Yes.

 18                THE COURT:    And that would be two.

 19                MS. MAKAREWICZ:    Yes.

 20                THE COURT:    And so the total offense level you offer

 21    it is 29.

 22                MS. MAKAREWICZ:    Thirty.

 23                THE COURT:    How did you get to 30?

 24                MS. MAKAREWICZ:    We used the 25 for the bond counts;

 25    we used the base offense level for the OID scheme as 26 under


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  1    the --

  2                THE COURT:    You're -- start from the root.       You start

  3    with the offense level, and the base offense level is seven,

  4    correct?

  5                MS. MAKAREWICZ:       Yes, except we used the tax tables

  6    to calculate the OID scheme, and we used the 287 -- the 2B

  7    table to calculate the 514 offenses.

  8                THE COURT:    Okay, but let's just start with the base

  9    offense level seven, correct?

 10                MS. MAKAREWICZ:       On the 514, yes, Your Honor.

 11                THE COURT:    But that's the offense level because

 12    that's greater than the sixth under the tax offense level,

 13    correct?

 14                MS. MAKAREWICZ:       Yes, yes, it is, Your Honor.

 15                THE COURT:    Okay.

 16                So then starting with the seven, I thought you said a

 17    moment ago that the loss calculation for the OID/tax scheme and

 18    the loss calculation for the commercial scheme was 18 for both;

 19    is that right?

 20                MS. MAKAREWICZ:       No.   The 18 is for the 514 counts,

 21    but for the 287 counts, it's 26, total 26.

 22                THE COURT:    So then you're saying add 26 onto seven?

 23                MS. MAKAREWICZ:       No.   Twenty-six as a base offense

 24    level.

 25                THE COURT:    So for the -- you're saying, then, for


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  1    the tax counts --

  2                 MS. MAKAREWICZ:   Yes.

  3                 THE COURT:    -- the base offense level is 26.

  4                 MS. MAKAREWICZ:   Yes, it is, Your Honor.

  5                 THE COURT:   And there's no additional calculation for

  6    loss.

  7                 MS. MAKAREWICZ:   No.    That's it.   It's the base

  8    offense level under 2T4.1 is more than $9.5 million, which is a

  9    level 26.

 10                 THE COURT:   And that's the tax.

 11                 MS. MAKAREWICZ:   Yes, sir.

 12                 THE COURT:   And so added to the 26, would be the two

 13    points for the fact that the two schemes were not double

 14    counted.     That makes 28.

 15                 MS. MAKAREWICZ:   Yes.

 16                 THE COURT:   And then the two points for the

 17    obstruction.     That's how you get to 30?

 18                 MS. MAKAREWICZ:   Yes, sir.

 19                 THE COURT:   And otherwise it would have been 29.

 20                 MS. MAKAREWICZ:   Yes, sir.

 21                 THE COURT:   In other words, if the base level offense

 22    had been seven, with the 18-points added on for loss

 23    calculation and the other adjustments, total would have been

 24    29, right?

 25                 MS. MAKAREWICZ:   Yes, sir.    Yes, Your Honor.


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  1                THE COURT:    With a criminal history of one and a

  2    offense level of 30, what is the guideline range?

  3                MS. MAKAREWICZ:       Ninety-seven to 121.

  4                THE COURT:    And with the criminal history of one and

  5    the base offense level of 29, what is the guideline?

  6                MS. MAKAREWICZ:       Eighty-seven to 108.

  7                THE COURT:    Okay.     Now, I just have a few questions,

  8    and, Mr. Morton, you're going to have a chance to respond; so

  9    just make a note of what I ask that you think is appropriate

 10    for a response.

 11                DEFENDANT SEAN DAVID MORTON:          I don't understand a

 12    thing that's going on here, Your Honor.

 13                THE COURT:    Well, then, I can't help you in that

 14    regard; I'm just trying to help you organize your thoughts.

 15                So now with regard to Hall and Adams, they were

 16    sentenced by other courts in 2015.

 17                MS. MAKAREWICZ:       Yes.

 18                THE COURT:    And Hall -- I get them mixed up -- but I

 19    think Hall was sentenced to ten years.

 20                MS. MAKAREWICZ:       Ninety-six months.

 21                THE COURT:    And Adams to 40 months.

 22                MS. MAKAREWICZ:       He pled, yes.

 23                THE COURT:    Yeah.

 24                And in terms of Adams and Hall, I remember at the

 25    trial looking at some of the videos.


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  1                Who was the originator of the OID scheme?         Was it

  2    Adams or Hall, or is there -- were they co-originators?

  3                MS. MAKAREWICZ:      They both did it together.     The

  4    person that you saw in the video, though, was Brandon Adams.

  5                THE COURT:    And he's the one that got the 40 months?

  6                MS. MAKAREWICZ:      He pled.

  7                THE COURT:    Yes.

  8                And Hall was not in the video.

  9                MS. MAKAREWICZ:      I don't believe so.

 10                THE COURT:    I thought I did see Hall, but -- okay.

 11                In any event, when did the criminal investigation --

 12    I remember at the trial there was some evidence as to when the

 13    criminal investigations of Adams and Hall began.           What year did

 14    they begin?

 15                MS. MAKAREWICZ:      One moment, Your Honor.

 16                2013.

 17                THE COURT:    And what actions of defendant Sean Morton

 18    followed after that date?

 19                MS. MAKAREWICZ:      Well, it was the entirety of the

 20    bond scheme, Your Honor.

 21                THE COURT:    Entirety of the bond scheme commercial

 22    side.

 23                MS. MAKAREWICZ:      Yes.

 24                THE COURT:    But did Hall and Adams -- their teaching

 25    was limited to tax or other things?


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  1                 MS. MAKAREWICZ:     As far as we know, the tax and the

  2    bond schemes.

  3                 THE COURT:     When you say "bond schemes," do you mean

  4    use of the bonds to pay IRS debts or use of the bonds to pay

  5    debts other than IRS debts:        The credit cards, mortgages, and

  6    so forth?

  7                 MS. MAKAREWICZ:     Correct.

  8                 THE COURT:     Correct what?

  9                 MS. MAKAREWICZ:     The latter, Your Honor.

 10                 THE COURT:     In other words, Hall and Adams advocated

 11    using the bonds for those purposes, too.

 12                 MS. MAKAREWICZ:     Yes.

 13                 THE COURT:     Following 2013, the evidence to trial

 14    that was Morton used a bond scheme for the commercial purposes.

 15                 MS. MAKAREWICZ:     Yes.

 16                 THE COURT:     And during the trial, the IRS sent Morton

 17    any number of letters saying that his claims were frivolous,

 18    Sean correct?

 19                 MS. MAKAREWICZ:     Yes.

 20                 THE COURT:     With regard to -- Mr. Morton, can I ask

 21    you this question:        Do you have any guess as to how many

 22    followers you had on your podcast?          Is there any way to

 23    determine?

 24                 DEFENDANT SEAN DAVID MORTON:      No.   Is that

 25    information going to be used against me if I tell you?


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  1                THE COURT:     It might.

  2                DEFENDANT SEAN DAVID MORTON:      It might be used

  3    against me?

  4                THE COURT:     Yes, yeah.

  5                You don't have to answer.

  6                DEFENDANT SEAN DAVID MORTON:      It's an Internet radio

  7    show; we have no real way of knowing.

  8                THE COURT:     Do you have any information in that

  9    regard?

 10                MS. MAKAREWICZ:     We do, Your Honor.     Twofold:   One,

 11    Mr. Morton himself has stated that it's the number one radio

 12    show on the Internet and two, we --

 13                THE COURT:     What does that mean?    I don't know what

 14    that means.

 15                MS. MAKAREWICZ:     That he has a large following

 16    himself.

 17                THE COURT:     When did he say that?

 18                MS. MAKAREWICZ:     Oh, in any number of his colloquies

 19    before this court.       I recall many times where the defendant has

 20    stated that he is --

 21                THE COURT:     I seem to recall that too.

 22                What about this YouTube that he made and when he

 23    didn't show up for sentencing?

 24                MS. MAKAREWICZ:     Yes.

 25                THE COURT:     Are there other YouTubes that he made?


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  1                MS. MAKAREWICZ:       In the interim, not as far as the

  2    government is concerned, no.            As far as the government knows,

  3    the only YouTube broadcast was -- between the time of

  4    sentencing and today was that one time.

  5                THE COURT:    So other than the fact that Morton has

  6    said he had a large following on his podcast --

  7                DEFENDANT SEAN DAVID MORTON:          Objection to that

  8    because I didn't make the YouTube; I didn't post the YouTube.

  9    I did an interview with a woman, but I didn't post it; I didn't

 10    put it up; it was all her.

 11                THE COURT:    I see.

 12                MS. MAKAREWICZ:       We have bank records --

 13                THE COURT:    Okay.     But just let me ask you this:

 14    This podcast, or Internet radio show, did those types of shows

 15    have any sponsors?

 16                MS. MAKAREWICZ:       No.

 17                THE COURT:    Is there any income generated from those

 18    shows?

 19                MS. MAKAREWICZ:       Perhaps it would go to the person

 20    who conducted the interview with Mr. Morton, as far as I know.

 21                THE COURT:    But you don't have any more information

 22    about the radio show.

 23                MS. MAKAREWICZ:       We saw how many people were watching

 24    it while Mr. Morton was on.

 25                THE COURT:    How many?


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  1                DEFENDANT SEAN DAVID MORTON:       Hundreds.

  2                THE COURT:    How did you observe that?

  3                MS. MAKAREWICZ:       I watched it myself, and you can see

  4    as you're watching how many -- the YouTube counts, how many

  5    viewers are watching the program, and I saw for myself how many

  6    people were currently watching this program with myself.

  7                THE COURT:    That was just one day?

  8                MS. MAKAREWICZ:       Yes.

  9                THE COURT:    You say there were hundreds.

 10                MS. MAKAREWICZ:       Yes, Your Honor.   We also have bank

 11    records which we could provide, but it shows that the same

 12    amount of people also pay a monthly subscription to the Morgans

 13    to view their podcasts before Mr. Morton -- during his regular

 14    programming before and after the trial.

 15                THE COURT:    Then what can be gleaned from those

 16    records?

 17                MS. MAKAREWICZ:       In addition -- I don't have an exact

 18    number -- but I know also hundreds of people pay him and his

 19    wife $4.95 a month to get access to his Internet radio show.

 20                THE COURT:    Okay.

 21                Just one moment.

 22                Yes, there was one count as I was reviewing the

 23    presentence report that I couldn't clearly recall.          It was

 24    something in your memorandum about a count dealing with the

 25    State Franchise Tax Board.


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  1                How did that become a count in this case?

  2                MS. MAKAREWICZ:    We presented the bond.      If the court

  3    might recall, I have the original bond delivered to us by the

  4    Franchise Tax Board, and we presented that.         Mr. Morton also

  5    failed to pay his California state tax which stemmed from the

  6    false returns that he filed with the IRS, and the state was

  7    trying to recoup money from Mr. Morton, and he and Mrs. Morton

  8    submitted the bond, which we have the in original form, and we

  9    presented on cross-examination that bond to Mr. Morton, and he

 10    verified that it was indeed his signature and he had submitted

 11    it to the Franchise Tax Board.

 12                THE COURT:    But how does this court have criminal

 13    jurisdiction over a claim to the state Franchise Tax Board?

 14                MS. MAKAREWICZ:    It's with respect to submitting a

 15    false bond not to the 287 counts, it's just like him submitting

 16    a bond to the Contra Costa tax authorities.

 17                THE COURT:    You're saying that was part of the scheme

 18    to defraud creditors of the --

 19                MS. MAKAREWICZ:    Yes.

 20                THE COURT:     -- victims in the bond scheme?

 21                MS. MAKAREWICZ:    Correct.

 22                THE COURT:    So the Franchise Tax Board was not

 23    charged in a tax sense but as just a victim of a scheme.

 24                MS. MAKAREWICZ:    Another creditor, yes.

 25                DEFENDANT SEAN DAVID MORTON:      Again, objection, Your


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  1    Honor, because in this case, once again, if the tax return from

  2    the IRS was erroneous and a computer error of theirs, then how

  3    can the California Franchise Tax Board, which based their

  4    supposed tax on erroneous refunds generated by a mistake in the

  5    computer according to the Internal Revenue Service, and at the

  6    same time, you know, Ms. Makarewicz keeps talking about how

  7    these were all fraudulently presented.        They weren't.     There

  8    was full disclosure in every single case where it's like, If

  9    this is unacceptable for any reason, please return it.           Under

 10    California Accord and Satisfaction, under Novation and Accord,

 11    under Uniform Commercial Code Rules, and in the case of the

 12    California Franchise Tax Board, after the monetary instrument

 13    was submitted, not only did nobody return any of these, did

 14    nobody object, did nobody respond to our request for a legal

 15    letter of advise, but in this case, the California Franchise

 16    Tax Board sent back a letter that said, Oh, I'm sorry.           It's a

 17    mistake.    We've mistakenly assessed you.

 18                THE COURT:    I understand.

 19                DEFENDANT SEAN DAVID MORTON:      And then suddenly they

 20    turn around and said, Oh, well, now it's not a mistake.           So,

 21    again, what am I supposed to do as a reasonable person when

 22    they say, Okay, this is -- here's this fine or fee with no due

 23    process.    We're just going to impose this on you.        Then they

 24    turn around and said, No, it's our mistake.         We're very sorry.

 25    Please use this letter to take off any liens or whatever else,


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  1    and them have them turn around and say, Oh, no, we changed our

  2    mind again.     It's not a mistake.

  3                 THE COURT:     Ms. Makarewicz, does that count affect

  4    any of the calculations in and of itself?

  5                 MS. MAKAREWICZ:     It would because it would affect the

  6    base offense level.        It would drop it two points.

  7                 If you look at --

  8                 THE COURT:     It seems unusual to me -- I'm not

  9    prepared to say more than that now to charge someone with

 10    making a false statement to a state agency as contrasted to a

 11    false civilian, false document to a commercial entity.            How

 12    would you comment?        Are you saying they're both just part of

 13    the same scheme?

 14                 MS. MAKAREWICZ:     They are but I just did the math

 15    quickly, Your Honor, in taking the bond that Mr. Morton sent to

 16    the California Franchise Tax Board and subtracted it from our

 17    total and, it would not affect.           It would still be the seven

 18    plus 18.     So you -- if you wish to --

 19                 THE COURT:     All right.     Let me see if I had any other

 20    questions.

 21                 Mr. Morton, you wish to respond?        If you do, you can

 22    take the lectern.

 23                 DEFENDANT SEAN DAVID MORTON:        Once again, Your Honor,

 24    they're talking about damages.           They're all imaginary.   None of

 25    them have it, and, you know, Oh, there's this amount and that


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  1    amount.     Again, they can't even present the documents other

  2    than the California Franchise Tax Board and the state.

  3                 THE COURT:   Let me ask you this.     Answer this

  4    question.

  5                 DEFENDANT SEAN DAVID MORTON:     Yes, sir.

  6                 THE COURT:   When you say "imaginary," when these

  7    bonds were prepared, was it your hope that they would help

  8    these people who were in debt, losing their homes and so forth?

  9                 MS. MAKAREWICZ:   That it would setoff, settle, and

 10    discharge a debt that they -- that was created by their

 11    signature -- I mean, you know, we're in a bankrupt society.

 12    We're not dealing under gold and silver, you know, Article I,

 13    Section 10 of any Constitution.       At the same time, their

 14    signature -- if you have any -- and you understand this because

 15    you know how the mortgage system works.         When you sign a

 16    mortgage document, that signatures allows to them take it to

 17    the Federal Reserve window; the Federal Reserve then generates

 18    a credit, which is then extended to that person so it's their

 19    signature that creates that money into the existence in the

 20    first place, as it was my understanding; and so, therefore, by

 21    the monetary instrument, we had hoped to help people, setoff,

 22    settle, and discharge, you know, crushing debt.           However, with

 23    the caveat that in every single case, these were sent with a

 24    stack of documents that went with it, none of which the

 25    prosecution presented, but a stack of documents that went with


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  1    it that said, number one, please have your attorneys respond if

  2    there's any problem with this; number two, here's a memorandum

  3    of understanding; number three, here's a self-addressed stamped

  4    envelope that said if you don't like for any reason, please

  5    mail it back book to us.      And in no case -- well, in every

  6    single case we got all these excuses as to how, quote, "the

  7    bonds" got lost.     We got everything from the dog ate it to the

  8    secretary destroyed to, Oh, we put it in a desk, and it got

  9    thrown out, to one person that said Bank of America said, Oh,

 10    well, we've wiped out this account, but we're going to give you

 11    a new number to pay.      So none of them were returned, none of

 12    them.   And by the way, there's no connection between what

 13    happened in 2008 with Brandon Adams and what happened, '9, '10,

 14    '11, '13, four years later, which, again, they're trying to

 15    link all this together because the tax stuff is beyond the

 16    statute limitations, which is three years and five years, and

 17    they didn't even come talk to us until six years later -- well,

 18    just under seven years later.

 19                So by the way, frivolous is not criminal.         Somebody

 20    sending you something that says this is a frivolous return is

 21    not criminal.    In every single case when they sent us a

 22    frivolous from, we wrote them a letter back saying, Show us how

 23    it's frivolous, show us how we've done wrong.          And, again, in

 24    dealing with these monolithic agencies, nobody wrote us back;

 25    nobody responded; nobody told us what to do.


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  1                And really at this point, Your Honor, I'm completely

  2    lost here, and I'm beginning to realize that in this

  3    proceeding, because all of my motions are being denied, and I'm

  4    not capable of representing myself, and at this point I'm going

  5    to have to ask -- request -- I put in four calls to different

  6    attorneys, none of whom have showed up today:          Jasmin Cader;

  7    James Taylor; John Purdell.       Of course, I've been in jail where

  8    I'm having to have other people make calls for me, but I've

  9    asked for representation.

 10                THE COURT:    One moment.

 11                Paul.

 12                    (Discussion held off the record)

 13                DEFENDANT SEAN DAVID MORTON:      Again, I now realize

 14    after weighing through all this I'm not capable of representing

 15    myself, and I request either a federal defender -- have

 16    appointed to review so that I can respond to this, because

 17    you've completely lost me.       Again, I have no -- I don't

 18    understand any of this, you know.        How I'm being imprisoned

 19    with no injured party, with a complete violation of the Sixth

 20    Amendment; violation of the Fourth Amendment rights of

 21    everything they did wrong with the warrant, violation of the

 22    Fifth Amendment; violation of the Sixth Amendment.          And I don't

 23    understand.    Again, all of this was done with no culpability

 24    whatsoever.    With all of my clear understanding of the law, the

 25    Ninth Circuit court has clearly said that culpability has to --


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  1    has to play into this somehow.        So at that this point, I have

  2    to represent -- I have to request counsel because I have no

  3    idea what you guys are talking about, 91s and 109s and how this

  4    comes to that and the other thing, and I think I have a right

  5    to presentation.     So if I could have an extension of this in my

  6    case -- and once again, I contacted Jasmin Cader, no response;

  7    James Taylor; no response; John Purdell, no response.           I

  8    thought one of them might have showed up today, but they're not

  9    here.

 10                THE COURT:    Okay.

 11                I'm now going to proceed to sentencing.

 12                DEFENDANT SEAN DAVID MORTON:      Even though I've

 13    requested counsel, sir?

 14                THE COURT:    Too late, Mr. Morton.

 15                DEFENDANT SEAN DAVID MORTON:      Too late?

 16                THE COURT:    I told you at the outset that you were

 17    making among the most foolish decisions you could possibly make

 18    by not having a lawyer, and I don't know --

 19                DEFENDANT SEAN DAVID MORTON:      I'm requesting it now,

 20    sir.

 21                THE COURT:     -- how I could have been clearer or more

 22    vigorous in my admonition.        You proceeded to be your own lawyer

 23    throughout the trial.      You've now argued for an hour and 25

 24    minutes, and now for the first time at sentencing you raise the

 25    thought of perhaps you need a lawyer, and it's just too late.


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  1    And --

  2                DEFENDANT SEAN DAVID MORTON:      I'd like to be clear on

  3    the record that I did --

  4                THE COURT:     You have made it clear.

  5                DEFENDANT SEAN DAVID MORTON:      This court is denying

  6    me the right to counsel?

  7                THE COURT:     Yes, I am, at this point.

  8                Okay.   We'll now proceed to sentence.

  9                Pursuant to the Sentencing Reform Act of 1984, it is

 10    the judgment of the court that the defendant, Sean David

 11    Morton, is hereby committed on counts one, two, three, six,

 12    seven, and nine through 32 of the first superseding indictment

 13    to the custody of the Bureau of Prisons to be prisoned for a

 14    term of 72 months.       This term consists of 72 months on each of

 15    counts six, seven, and nine through 32, and 60 months on each

 16    of counts one, two, and three of the first superseding

 17    indictment, all to be served concurrently.

 18                Upon release from imprisonment, defendant shall be

 19    placed on supervised release for a term of five years.           This

 20    term consists of five years on each of counts six, seven and

 21    nine through 32, and three years on each of counts one, two,

 22    and three of the first superseding indictment, all such terms

 23    to run currently under the following terms and conditions:

 24    One, defendant shall comply with the rules and regulations of

 25    the U.S. Probation Office and General Order 05-02; the


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  1    defendant shall apply all monies received from tax refunds to

  2    the outstanding court-ordered financial obligations.           In

  3    addition, he shall apply all monies received from lottery

  4    winnings, inheritances, judgments, and any anticipated or

  5    unexpected financial gains to the court-order financial

  6    obligations; he shall truthfully and timely file and pay taxes

  7    owed for the years of conviction and shall truthfully and

  8    timely file and pay taxes during the period of community

  9    supervision; he shall not engage as whole or partial owner,

 10    employee or otherwise in any business involving the sale of

 11    financial instruments or provide debt relief services without

 12    the approval of the probation officer prior to engaging in such

 13    employment; he shall cooperate in the collection of a DNA

 14    sample; the drug testing condition is suspended; he shall pay a

 15    special assessment of $2,900, which is due immediately; he

 16    shall pay restitution in the amount of $480,000 -- $480,322.55

 17    to the IRS at the location set forth in the presentence report.

 18                Restitution shall be due during the period of

 19    imprisonment at a rate of not less than $25 per quarter

 20    pursuant on the Bureau of Prisons' Inmate Financial

 21    Responsibility Program.      If any amount of restitution remains

 22    unpaid after release from custody, monthly payments shall be

 23    made in an amount equivalent to -- well, it's difficult to

 24    assess his financial condition.

 25                Is there any information about what his financial


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  1    condition is?

  2                 MS. MAKAREWICZ:   He didn't submit any to the

  3    probation report.

  4                 THE COURT:   Well, I'll have to order that restitution

  5    be made in an amount that is no less than ten percent of his

  6    monthly earnings as determined by the probation officer.

  7                 The justification for the sentence is the court has

  8    consulted the guidelines and finds that the defendant is in

  9    criminal history category one, that the offense level is 30, as

 10    previously discussed, or 29.       In this case, given the sentence,

 11    it wouldn't make a difference.

 12                 DEFENDANT SEAN DAVID MORTON:     What does any of that

 13    mean, sir?

 14                 THE COURT:   And -- just one moment, Mr. Morton -- the

 15    court has considered the sentencing factors under Section

 16    3553(a) of the of Title 18.       First, the history and

 17    characteristics of the defendant.        As the defendant has argued,

 18    he doesn't have a criminal history, some traffic violations,

 19    but nothing of significance.       In terms of his history, he has

 20    benefited from an education, college graduate, and obviously

 21    came from a family of respect and accomplishment.

 22                 In terms of the need to impose the sentence, it is

 23    needed to reflect the seriousness of the offense.          The tax

 24    system we engage in is a voluntarily tax system, and the

 25    conduct that the defendant has engaged in and has sponsored


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  1    could cause, and did cause, a serious disruption of that

  2    system.    It's needed to promote respect for the law and to

  3    provide just punishment for the offense.         It's also needed to

  4    detour others.     While the number may be unknown, it is clear

  5    that this defendant has a following, and he is charismatic and

  6    not only could he cause disruption on his own account, but he

  7    has caused others to engage in fraudulent conduct, and the

  8    sentence is needed to deter others from engaging in such

  9    conduct.    It's also needed to protect the public from further

 10    crimes of this defendant because based upon what is known to

 11    the court and what he has said, it appears that there's no

 12    contrition, and he remarkably would continue to engage in this

 13    type of conduct or a similar conduct.        In the court's

 14    experience, that is that unusual.        Even people who are engaged

 15    in serious frauds at least acknowledge the fraud and promise to

 16    make amends.     Nothing of that has occurred here.

 17                In terms of his culpability, the scheme, while

 18    outrageous, was also calculated, and there were many warning

 19    posts along the way.      Given his background and experience, it

 20    was for the jury to determine, based upon all the evidence,

 21    whether it just was some kind of long-term farce or a

 22    calculated scheme to defraud.       In my view, there was plenty of

 23    evidence for the jury to conclude the matter, and they did.

 24                And in terms of his wanting to help others, that may

 25    be true, but he also charged them $2500 for preparing


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  1    absolutely phony documents, and the people he dealt with were

  2    desperate.     One witness, Melinda Thompson, was that her name?

  3                 MS. MAKAREWICZ:     Linda Lavender.

  4                 THE COURT:   Linda Lavender, she testified, and she

  5    was a real sad sack, and that was the type of person that he

  6    took advantage of; and in terms of the IRS, while he now claims

  7    that some of these documents were -- could easily be determined

  8    not to be real or imaginary, the IRS in its wisdom accepted one

  9    of them and gave him a $480,000 tax refund, which he spent

 10    making movies and other things.        So that is the least -- the

 11    lowest sentence the court thinks is available to serve the

 12    interest of justice.      The guidelines were substantially higher;

 13    the government asked for a hire sentence, but that's the

 14    court's determination.

 15                 DEFENDANT SEAN DAVID MORTON:     Request?

 16                 THE COURT:   Yes.    Yes, sir.

 17                 DEFENDANT SEAN DAVID MORTON:     Request a lower based

 18    on community service or counseling of kids or working for

 19    groups like Better L.A. to be able to use my Ph.D in

 20    therapeutic counseling to be able to help others.          Is it

 21    possible to now get a reduction of the sentence to include any

 22    kind of community service and counseling so I could be of

 23    benefit to people out there?        As I said, I was one of the

 24    people that helped start A Better L.A. with Pete Carroll; I did

 25    some great good in the Hoover-Adams area, gang members, Crips


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  1    and bloods.    Reduced the murder rate there from 66 to zero, in

  2    helping kids and children at risk.          So if there is a

  3    possibility of a release or probation based on community

  4    service or trying to use my talent and skills to help people,

  5    again, which is all I've ever wanted do, if that could be taken

  6    under consideration.

  7                THE COURT:     Well, I have considered that because I

  8    always start with the necessity for jail as a first thought,

  9    and in this case, there just isn't available, although I hope

 10    that you will consider that type of work when you are released.

 11                We'll now proceed to Melissa Morton.

 12                Are there any remaining counts -- no, was convicted

 13    of all the counts.       Okay.

 14                MS. MAKAREWICZ:        The defendant's right to appeal,

 15    Your Honor.

 16                THE COURT:     Yes, he has a right to appeal.

 17                Okay.   Let's turn to Melissa Morton.

 18                THE CLERK:     Yes, Your Honor.

 19                MR. NAVARRO:     Your Honor, can we do it from here

 20    since she is in a wheelchair?

 21                THE COURT:     She can sit there, but I want you to take

 22    the lecturn.

 23                He can be here for her sentence

 24                THE MARSHALL:        Okay.

 25                THE COURT:     This is the time for sentencing of


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  1    Melissa Morton.

  2                Has the defendant read the presentence report?

  3                MR. NAVARRO:     She has, Your Honor.

  4                THE COURT:     And in terms of the guideline

  5    calculation, how does her calculation differ, if at all, from

  6    defendant Sean Morton's?          Can the government respond.

  7                MS. MAKAREWICZ:        With respect to -- there's three

  8    parts.   May I take the lectern?

  9                THE COURT:     Yes.     Let's do that first, Mr. Navarro,

 10    and then you ...

 11                MS. MAKAREWICZ:        Thank you, Your Honor.

 12                With respect to the OID schemes, the defendant's base

 13    offense level is 14.       With respect -- the defendant was also

 14    convicted of conspiracy to defraud the government.          So her

 15    offense level under Section 371 is raised to that of her

 16    co-conspirator.     That would raise her offense level to a 26.

 17                Regarding the 514 counts, the commercial bonds, Your

 18    Honor, it's the same as defendant Morton, which is a 25.

 19                THE COURT:     Is her calculation a 28; is that what it

 20    is?

 21                MS. MAKAREWICZ:        Yes, because we did not obviously --

 22    enhancement.

 23                THE COURT:     That sentencing range is what again?

 24                MS. MAKAREWICZ:        Seventy-eight to 97.

 25                THE COURT:     Okay.


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  1                 Mr. Navarro, if you would.

  2                 MR. NAVARRO:     Yes, Your Honor.

  3                 THE COURT:     And you wrote a thoughtful memorandum,

  4    and you also included letters, all of which I've read, and they

  5    paint a pretty clear picture of your client, at least as I read

  6    the letters.

  7                 MR. NAVARRO:     I agree.

  8                 THE COURT:     And if have you further thoughts and

  9    remarks, I'm prepared to hear them.

 10                 MR. NAVARRO:     Just briefly, Your Honor.     I won't go

 11    for an hour and a half; I promise.

 12                 When you appointed me on April 24th of this year, the

 13    first thing that I did is I spoke to Mr. Brody; I received his

 14    files, but more than anything I wanted to review the trial

 15    transcripts.     I was looking to see if there was anything in the

 16    trial transcripts that could be the basis for a motion for a

 17    new trial.     There really wasn't.        It was -- it was a bizarre

 18    trial, and you sat through it.           It was really a bizarre trial.

 19    My client did not testify.        She had counsel present, and I

 20    think Mr. Brody did everything he could to protect her.

 21                 THE COURT:     I did, too.     I thought, in a difficult

 22    situation, Mr. Brody did an admirable job.

 23                 MR. NAVARRO:     I agree.

 24                 So that leaves us now with a defendant who's facing

 25    sentencing for really I think -- she's been in love with


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  1    Mr. Morton for many years, since she -- I firmly believe that

  2    had she not met him, she wouldn't be here.           She would have been

  3    in Utah raising a family, but she made choices herself and --

  4                 THE COURT:     That's life.   You know, we're the victims

  5    of our choices, bad ones and the beneficiaries of the good

  6    ones.

  7                 MR. NAVARRO:     Correct, Your Honor.

  8                 And, frankly, to be honest with you, when I -- as I

  9    went through the case, I was going to ask the court for a

 10    noncustodial sentence initially, but then my client did

 11    something that I wasn't surprised:         She met up with Mr. Morton

 12    to watch the eclipse, and she knew she should have not have

 13    done that.     But when I -- I wasn't surprised because I think

 14    she was going to follow him.        That was my sentence.     I tried to

 15    counsel her the best that I could.         We met in my office

 16    numerous times.     She has been in custody at a local jail with a

 17    bunch of other women offenders who are nothing like her, and

 18    that's unfortunately what happened with her, Your Honor.

 19                 My request to Your Honor is that you impose a

 20    sentence which takes into account not only what happened during

 21    the trial but everything about my client beforehand, and I

 22    think that that's significant.        She is someone that was raised

 23    in a very simple home in Utah, raised by good parents who are

 24    still alive --

 25                 THE COURT:     So was Mr. Morton.   He had a mother who


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  1    ran for president of the United States and a father who was the

  2    chief communications officer for TRW.

  3                 MR. NAVARRO:     Even that's -- I'm not surprised, Your

  4    Honor, but Melissa Morton is here before you now, Your Honor,

  5    and what I'm asking Your Honor to do is impose a sentence which

  6    takes into account not only her conduct, the counts of

  7    conviction, but really who she is as a person and who she has

  8    been before all of this mess that she got herself into.           I do

  9    believe that you're not going to see her here, you're not going

 10    to see her at any podcasting.        There's not going to be any of

 11    that from her.

 12                 THE COURT:     Well, I think that may be true.     I'm not

 13    so sure about Mr. Morton, but with regard to her, I hope that

 14    is true.

 15                 But, of course, I can't ignore the fact that she, you

 16    know, was an active participant, and she moved the money, the

 17    $480,000 tax refund.        She helped prepare the template for those

 18    bonds.     I mean, she wasn't just someone who took a piece of

 19    paper from one office to the other, but I do hear what you're

 20    saying.

 21                 MR. NAVARRO:     Your Honor, my understanding is, again,

 22    having reviewed -- I'm doing a Monday morning quarterback

 23    here -- but I know that before the trial, there was a really

 24    favorable offer to my client, which wasn't accepted, which is

 25    shocking to me that she would not have been pushed to accept


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  1    that misdemeanor offer, which I believe was offered by the

  2    government.

  3                 MS. MAKAREWICZ:     Your Honor, that's settlement

  4    negotiations that we engaged with counsel.

  5                 MR. NAVARRO:     Again, Your Honor, I'm only referencing

  6    what I -- I wasn't there, I wasn't counsel, but, again -- and I

  7    don't want to disparage former counsel, but there was a great

  8    opportunity to resolve this case, and it wasn't done.           I'm

  9    inheriting the case as it it.        I would simply ask for Your

 10    Honor to take into account who my client has been and who I

 11    think she will be.        Once she gets out of jail, you're not going

 12    to see her here on a violation.        She's going to be on the

 13    straight and narrow.        She has a long history of employment.

 14    She has paid her taxes on her own.        She has a lot of support

 15    from family and friends.        When she was incarcerated recently,

 16    she was taken from her apartment, and her friends really have

 17    come forward.

 18                 THE COURT:     Well, there are quite a number of nice

 19    letters.

 20                 MR. NAVARRO:     Yes, and they've really come forward in

 21    helping her with her cats, with her apartment, with a number of

 22    serious issues that she's having to deal with; and I don't

 23    think a significant jail sentence is required for her, Your

 24    Honor.     She has a number of physical problems that she is going

 25    to have to deal with whether she is in or out of custody, but I


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  1    think you know enough about her to, I think --

  2                THE COURT:     I do.

  3                MR. NAVARRO:     Thank you, Your Honor.

  4                THE COURT:     Does Ms. Morton wish to address the

  5    court?

  6                MR. NAVARRO:     If I could have a second, Your Honor.

  7                THE COURT:     She can do so from the table if she

  8    wishes.

  9                DEFENDANT MELISSA MORTON:      Hi, Your Honor.     I'm

 10    sorry.    I'm very nervous, of course.

 11                I just want to reiterate what I wrote in my letter is

 12    very heartfelt, and I am taking responsibility for my actions;

 13    they were my decisions.       Yes, they were affected by other

 14    individuals, but I am ultimately responsible for myself.             And I

 15    do ask for some mercy and some leniency.          I do ask for your

 16    forgiveness.    I, as horrible as this experience has been, it

 17    has kicked me in the behind and got me back on my correct paths

 18    I need to be on, and I do believe there is a divine path, and I

 19    do believe that i do have a bright future case, and as I

 20    mentioned in my letter, I am very much looking forward to that,

 21    and today is the first day to begin that new future.           I don't

 22    look at this as an ending, I do look at this as repentance, a

 23    forgiveness, and a moving forward, and I very much -- I've also

 24    been a lover of laws.       I've paid my taxes.     I've always had

 25    great jobs.    I have excellent skills.      I would really love to


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  1    be able to counsel other woman to get out of potentially very

  2    destructive relationships and environments and have the courage

  3    to do that, which I unfortunately did not do.

  4                 THE COURT:   But how did you get on this path for so

  5    long?   In other words, you started this path around 2007; isn't

  6    that right?

  7                 DEFENDANT MELISSA MORTON:     I believe around 2008 when

  8    I started attending expos and just going along with Mr. Morgan.

  9    Again, I'm not going to blame him --

 10                 THE COURT:   But am I correct that along the way, you

 11    had jobs?

 12                 DEFENDANT MELISSA MORTON:     I've always had a job and

 13    usually multiple jobs.      I particularly worked two or three jobs

 14    at a time.

 15                 THE COURT:   Mr. Morton didn't.

 16                 DEFENDANT MELISSA MORTON:     That is correct, and I

 17    always filed my taxes, and I actually did file corrections for

 18    the years in question as well.

 19                 THE COURT:   Yes.

 20                 DEFENDANT MELISSA MORTON:     And I've always tried to

 21    do everything that I knew correctly, and this is obviously very

 22    distressing and very upsetting.       I've hurt many people.      I've

 23    hurt my family.     My father is 86; my mother is 81.       I have

 24    broken their hearts --

 25                 THE COURT:   You have a disabled sister, too.


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  1                 DEFENDANT MELISSA MORTON:     Yes.   And, actually, she

  2    had some tests last week which unfortunately did not come back

  3    very well.     So she and I need each other.      If there's any kind

  4    of mercy or leniency, I really do want to go back to Utah to

  5    help my sister.     I know you've read her letter.       We've talked

  6    about going to church together and helping each other and being

  7    a support.     I can actually stay with my parents and help them

  8    as well.     And especially with winter coming up in Utah, there

  9    is a lot of things to do to prepare for that.

 10                 But I do have amazing friends, a lot of them who

 11    actually came all the way from San Diego to support me today,

 12    to be here, and I'm just so sorry to everybody.          I'm sorry I've

 13    broken your hearts.       I'm sorry I got away from my path.      My

 14    decisions.     I will take responsibility for it, and I so sorry.

 15    I cannot eternally enough say how truly sorry I am, and

 16    absolutely this would have never happened had I not met

 17    Mr. Morton, left my home of Utah, which is where I want to go

 18    back.   Again, I'm very, very sorry.

 19                 THE COURT:    Let me ask the government to give me

 20    their view.     Is it you, Ms. Makarewicz?

 21                 My impression is that there is some truth to what

 22    Ms. Morton has just said.       What she did can't be erased and

 23    there has to be a consequence, but there is truth to what she

 24    said, certainly in the difference between Ms. Morton and

 25    Mr. Morton.     In other words, she hasn't said -- he said, but


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  1    she hasn't said that she was the dutiful wife and just obeyed.

  2    I mean, she is a person of education.        She doesn't have a

  3    college, degree but she has gone to college, and she's skilled

  4    in a number of computer applications, and she's had responsible

  5    jobs.    It's hard for me to understand how she came into this

  6    given her background, but then again that's not my job.           But

  7    she was in this for a number of years.        It wasn't just a little

  8    while.    There were plenty of red flags along the way.         And, I

  9    mean, the only way you can sort of rationalize it, if you can,

 10    is that she came under some sort of svengali-type influence of

 11    Mr. Morton.     In other words, he charisma and self-assurance,

 12    which he has an abundance, just overwhelmed her, and she

 13    couldn't think her way out of it.        On the other hand, she did

 14    maintain jobs throughout this.       That always says a lot to me.

 15    In terms of looking at who is the real hardened criminal and

 16    who isn't, having a job goes a long way.         You get up in the

 17    morning and you put on your clothes and you do a day's work.

 18    That says a lot to me about your makeup, and she did benefit,

 19    along with Mr. Morton, from the $480,000 refund and some of the

 20    other funds.

 21                 The need for deterrence is not as great with her

 22    because I think the point is made with him.         He's the one who's

 23    out there.     In terms of being a recidivist, I'm not confident

 24    about him, but I am confident about her.

 25                 So my intention is to show a rather steep difference


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  1    between the two.     I'm not being soft-hearted about it, I'm just

  2    looking at the objective facts.

  3                 You don't have to speak to that.

  4                 MS. MAKAREWICZ:     Obviously, to everybody present,

  5    there's a marked difference between the two defendants, but the

  6    the government brought the case against defendant Melissa

  7    Morton for a variety of important reasons:         If it wasn't for

  8    her, the scheme -- the schemes would never have been

  9    perpetrated.

 10                 THE COURT:   How so?

 11                 MS. MAKAREWICZ:     She's the one who filed every UCC

 12    statement.     Every bond was prepared by her; you saw it at

 13    trial.   She communicated with most of the clients; she mailed

 14    every document; she notarized every document.          She became a

 15    notary to safe on notary fees for this scheme.          Mr. Morton may

 16    have reached a far audience in gathering all of the people who

 17    were desperate, but it was her who made it happen.

 18                 THE COURT:   But weren't those roles more or less

 19    those of a functionary?        In other words, were they critical?

 20    Could someone else have done them?        She did them, and she has

 21    to own up to them, but it doesn't seem as though what you're

 22    describing was something that he could have gotten someone else

 23    to do.

 24                 MS. MAKAREWICZ:     I suppose, but when everyone takes a

 25    look at Mr. Morton's sentence and everyone takes a look at


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  1    Mrs. Morton's sentence, or sentence to come, the government's

  2    very concerned on perpetuating an idea that if you come along

  3    with a fraudster and only do ministerial work and get convicted

  4    of the same crimes as the fraudster, that you'll be treated

  5    differently.    I mean, the government isn't --

  6                THE COURT:     But you should be treated differently.          I

  7    mean, there should be some distinction between someone who is

  8    an architect and someone who isn't.        The person who helps the

  9    scheme ought to be punished, but there ought to be a

 10    difference, and if the public doesn't understand that, then the

 11    public is just not very sophisticated.        I mean, everyone, I

 12    think, knows that that sentences are always different even in

 13    ordinary fraud schemes.

 14                Well, we're not getting anywhere.       You have a point

 15    of view, and I certainly respect that, but okay.          Thank you,

 16    Ms. Makarewicz.

 17                MS. MAKAREWICZ:     Thank you, Your Honor.

 18                THE COURT:     Any legal cause why sentence should not

 19    now be imposed?

 20                MR. NAVARRO:     None, Your Honor.

 21                THE COURT:     Pursuant to the Sentencing Reform Act of

 22    1984, it is the judgment of the court that the defendant,

 23    Melissa Morton, is hereby committed on counts one, four, five,

 24    eight, 33 through 56 of the first superseding indictment to the

 25    custody of the Bureau of Prisons for a term of 24 months.


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  1                This term consists of 24 months on each of counts

  2    Eight and 33 through 56, and 60 months on each of counts one,

  3    four and five of the first superseding indictment, all to be

  4    served concurrently.

  5                MR. NAVARRO:     Your Honor, I'm sorry.     You were

  6    reading the sentence, but you referenced a 60-month prison

  7    term.

  8                THE COURT:     I said, "24 months."

  9                MR. NAVARRO:     You just said 60.    I want to make sure

 10    the record is correct.

 11                THE COURT:     I didn't mean to say that.     Then I

 12    should -- that should be 24 months.

 13                MR. NAVARRO:     Thank you, Your Honor.

 14                THE COURT:     Thank you for correcting me.     That was

 15    the recommendation.      It's not my sentence.

 16                On each of counts one, four and five of the first

 17    superseding indictment, all to be served concurrently.             Upon

 18    release from imprisonment, defendant shall be placed on

 19    supervised release for a term of five years.          This term

 20    consists of five years on each of counts eight, and 33 through

 21    56, and three years on each of counts one, four and five of the

 22    first superseding indictment.       All such terms to run currently

 23    under the following terms and conditions:         One, the defendant

 24    comply with the rules and regulations of the U.S. Probation

 25    Office and General Order 05-02; she shall apply all monies


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  1    received from tax refunds to the outstanding court-ordered

  2    financial obligation.       In addition, she shall apply all monies

  3    received from lottery winnings, inheritances, and any

  4    anticipated or unexpected financial gains to the court-ordered

  5    financial obligation.       She shall not engage as owner in whole

  6    or in part or as employee in any business involving the selling

  7    of financial instruments or providing services without the

  8    approval of the probation officer.        She shall cooperate in the

  9    collection of a DNA sample.       She shall pay a special assessment

 10    of $2800, which is due immediately.        She shall make restitution

 11    payments to the IRS at the address in the pretrial sentence

 12    report in the amount of $480,322.55.        Those payments shall be

 13    made after release from custody in an amount of about --

 14    approximately ten percent of her monthly earnings, as directed

 15    by the probation officer.

 16                She has a right to appeal the sentence as -- did I

 17    tell Mr. Morton he had a right to appeal the sentence?

 18                MR. NAVARRO:     Yes, Your Honor.

 19                MS. MAKAREWICZ:     Yes.

 20                THE COURT:     She has a right to appeal.

 21                The justification for the sentence is -- it is a

 22    substantial deviation from the guidelines, and the court feels

 23    that that deviation is appropriate because the defendant did

 24    have a limited but important role in this scheme.          The court

 25    does believe that she has seen the light, and based upon her


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  1    background, the fact that even during the scheme, she was hard

  2    working, unlike her co-defendant, and regularly employed, that

  3    she will again become a law-abiding person.

  4                 While a two-year sentence is less than what the

  5    guideline proposed, it is a significant sentence, especially

  6    for someone who has never been incarcerated, and it certainly

  7    is a shock, and I think does reflect the seriousness of the

  8    offense, and it does promote respect for the law.          Just how

  9    much of a sentence is needed to promote respect for the law is

 10    debatable.     The court certainly has considered the guidelines,

 11    and the sentence that the court imposed for Mr. Morton was much

 12    closer to the guideline range, but in this instance, it appears

 13    to the court that this sentence does reflect the seriousness of

 14    the crime, and it does punish her.        I've considered other

 15    sentences available, and, in my view, a jail sentence is

 16    required and in my view this is the least punitive sentence the

 17    court could impose under all the circumstances.

 18                 That's the sentence.

 19                 MR. NAVARRO:   Thank you, Your Honor.

 20                   (Proceedings concluded at 1:04 p.m.)

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  1                          C E R T I F I C A T E

  2

  3                I hereby certify that pursuant to Section 753,

  4    Title 18, United States Code, the foregoing is a true and

  5    correct transcript of the stenographically reported proceedings

  6    held in the above-entitled matter and that the transcript page

  7    format is in conformance with the regulations of the Judicial

  8    Conference of the United States.

  9

 10      Date:   December 29, 2017

 11

 12                          /S/______________________

 13                                 Deborah K. Gackle
                                        CSR No. 7106
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